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                Exhibit A
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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 UNITED STATES
                                                        Docket No. 19-CR-10045-ADB
            v.

 REGINALD BOYD


                            AFFIDAVIT OF REGINALD BOYD

I, Reginald Boyd, depose and state:

   1. I am the defendant in this case.

   2. On November 26, 2018, I was driving a rental car on Route 95 in Canton.

   3. While I was driving, a state police vehicle was traveling in the same direction as me.
      Because of this, I was especially careful with my driving.

   4. Near the I-95 and I-93 split, a different state police vehicle pulled onto the highway and
      activated its lights behind me.

   5. I pulled into the emergency lane and stopped.

   6. Before pulling into the emergency lane, I was obeying all traffic laws. My vehicle did not
      cross over the fog line.

   7. Although I didn’t know why the officer stopped me, I knew he would ask for my license.

   8. I took my wallet out of my pocket and had it ready when the officer approached my
      vehicle.

   9. When the officer came to the window of my car, I produced my driver’s license.

   10. The officer asked for the vehicle’s registration, which was in the glovebox.

   11. I retrieved the registration from the glove box. I had to look down away from the officer
       in order to open the glove box and find the registration.




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   12. After I handed the officer my license and registration, he stayed at the window of my car.
       He did not appear to be checking the status of my license or registration.

   13. After handing my license and registration to the officer, I briefly put my hands down in
       my lap. It was cold outside, and the window of my car was open.

   14. The officer ordered me to keep my hands visible, and shortly after that, he ordered me to
       get out of the car.

   15. A second trooper was present behind my vehicle while all this was occurring. I thought it
       was strange that another officer was needed for a traffic stop.

   16. I complied and got out of the car.

   17. I was approached by both officers, who had me put my hands on the car and submit to a
       search of my person.

   18. Prior to being searched, I had not been grabbing at my pockets. The search happened
       almost immediately after I was ordered out of the car.

   19. This affidavit was prepared with the assistance of my attorneys. It is not a complete
       statement of everything I know about this incident.



Signed under the pains and penalties of perjury:


_______________________________
Reginald Boyd


_______________________________
Date




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